
The People of the State of New York, Respondent,
againstKyle Greninger, Defendant-Appellant.



Defendant appeals from a judgment of the Criminal Court of the City of New York, New York County (Kevin B. McGrath, J.), rendered January 3, 2016, convicting him, upon a plea of guilty, of resisting arrest, and imposing sentence.




Per Curiam.
Judgment of conviction (Kevin B. McGrath, J.), rendered January 3, 2016, affirmed.
The renewed application by appellant's counsel to withdraw as counsel is granted (see Anders v California, 386 US 738 [1967]; People v Saunders, 52 AD2d 833 [1976]). We are satisfied with the sufficiency of the brief filed by defendant's assigned counsel in accordance with our prior order, and, upon an independent review of the record, agree that there is no valid appealable issue that could be raised on appeal.
THIS CONSTITUTES THE DECISION AND ORDER OF THE COURT.
I concur I concur I concur
Decision Date: April 17, 2018










